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               EXHIBIT C




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                                   3                                  UNITED STATES DISTRICT COURT

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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                   6

                                   7     MIGUEL ESPARZA,
                                   8                    Plaintiff,                             No. C 22-09004 WHA

                                   9             v.

                                  10     LENOX CORPORATION,                                    ORDER RE NOTICE OF
                                                                                               VOLUNTARY DISMISSAL
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The parties agree that no notice to putative class members regarding the voluntary
                                  14     dismissal of this action is necessary (Dkt. Nos. 40, 41). While the Court is not required to
                                  15     bless plaintiff’s voluntary dismissal without prejudice under Rule 41(a), it does have the duty
                                  16     to require plaintiff’s counsel to give appropriate notice to potential class members. Although
                                  17     this action is in relative infancy, plaintiff’s counsel is hereby ORDERED to post notice of the
                                  18     dismissal in the same manner, for the same length of time, and by the same means counsel
                                  19     used to publicize the pendency of the case, so as to alert putative class members to bring their
                                  20     own suits under American Pipe. Plaintiff’s counsel SHALL FILE a declaration explaining what
                                  21     notice, if any, shall be given pursuant to the foregoing. Upon review of such filing, the file
                                  22     will likely be closed. If, moreover, the same or similar suit is filed by counsel for plaintiff
                                  23     against Lenox, then both counsel shall WITHIN 28 DAYS send a letter to the undersigned judge
                                  24     so advising.
                                  25     Dated: May 24, 2023.
                                  26
                                  27
                                                                                                  WILLIAM ALSUP
                                  28                                                              UNITED STATES DISTRICT JUDGE

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